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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

GRADUATION SOLUTIONS LLC,                        )
                                                 )
          Plaintiff,                             )
                                                 )       Case No. 17-cv-1342 (VLB)
v.                                               )
                                                 )
ACADIMA, LLC and ALEXANDER                       )
LOUKAIDES,                                       )
                                                 )
          Defendants.                            )

                           DEFENDANT LOUKAIDES’ MOTION FOR
                       EXTENSION OF TIME AND TO REOPEN DISCOVERY

          Pursuant to D. Conn. L. Civ. R. 7(b) and 16(b), Defendant Alexander Loukaides, by and

through the undersigned counsel, respectfully requests, on a new basis, that this Court extend the

deadline for the joint pretrial memorandum and continue the trial of this matter to allow for

proposed pro hac vice counsel to enter the case as new trial counsel and to fully and adequately

prepare for trial and, with the Court’s permission, to permit Defendant Loukaides to engage in

limited discovery in this matter. The undersigned counsel is filing this motion on behalf of

proposed pro hac vice counsel.

          As set forth below, good cause for this extension exists due to the entry of new lead trial

counsel. In support of this motion, Defendant Loukaides states as follows:

          1.       This case is currently set for trial on June 18, 2019. Order, ECF No. 87.

          2.       The parties’ joint trial memorandum is currently due April 15, 2019. Order, ECF

No. 84.

          3.       On April 10, 2019, Defendant Loukaides retained the proposed pro hac vice

counsel to act as lead trial counsel for this case if admitted by this Court.

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       4.       Mr. Loukaides sought the assistance of the proposed pro hac vice counsel because

undersigned counsel was never retained to be lead counsel in the case. Instead, the express

agreement between Loukaides and undersigned counsel was that other New York counsel,

Grossman LLC, would handle all the substantive work in the case, using undersigned counsel

solely as local counsel, and would apply for pro hac vice admission. That firm ultimately declined

to do so after authoring Loukaides’ Answer to the Amended Complaint.

       5.       Proposed pro hac vice counsel is prepared to work diligently and has already began

reviewing the case materials, but despite this diligence the proposed pro hac vice counsel cannot

reasonably meet the current deadline for the joint trial memorandum or be adequately prepared for

trial on its currently scheduled date.

       6.       Proposed pro hac vice counsel is aware that no depositions have been taken of

Plaintiff or of Plaintiff’s anticipated witnesses by the Grossman firm and that no, or limited, written

discovery has been sought from Plaintiffs. This is a complex civil case, and Defendant Loukaides

absolutely needs to undertake certain discovery before he is subjected to a trial in this matter

wherein Plaintiff seeks over $1 million.

       7.       It is the understanding of the proposed pro hac vice counsel that following the

deposition of Mr. Loukaides in October 2018, counsel for Plaintiff made statements to undersigned

counsel indicating that Plaintiff might not pursue its claims against Mr. Loukaides due to collection

issues, and the belief that a successor corporation to Acadima LLC was in existence, and was

willing to settle the claims against him.

       8.       Proposed pro hac vice counsel further understands that by the time Plaintiff

indicated a renewed interest in pursuing a judgment against Mr. Loukaides in his individual

capacity, which occurred sometime after the deposition of Frank Seviane on January 23, 2019, the
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undersigned counsel did not have adequate time to pursue meaningful discovery as discovery

closed on January 28, 2019, and was not retained to do so in any case.

          9.       Importantly, Mr. Loukaides did not seek to supplement his legal representation

earlier because, based on discussions between Plaintiff’s counsel to the undersigned counsel, he

believed Plaintiff would no longer pursue its claims against him.

          10.      The requested relief of continuing the trial to January 21, 2020 is consistent with

the date this matter would have been tried had any dispositive motions been filed. See Order, ECF

No. 84.

          11.      Because no meaningful discovery has been pursued on behalf of Defendant

Loukaides, the proposed pro hac vice counsel requests that discovery be reopened and this Court

grant Defendant Loukaides through August 30, 2019 to complete discovery.

          12.      Mr. Loukaides’ new counsel would request an opportunity to depose a corporate

representative of the plaintiff, any expert witness Plaintiff intends to call, and any witness Plaintiff

intends to call to establish any of the essential elements of its claims. Further, limited written

discovery is absolutely appropriate in a case of this complexity with multiple claims pending and

millions of dollars sought in damages by the Plaintiff.

          13.      In addition, according to the U.S. District Courts-Combined Civil and Criminal

Federal Court Management Statistics for the reporting period ending December 31 1, 2018, the

median amount of time for a civil case from filing to trial in this District is 35.2 months. This case

was filed on August 9, 2017, therefore, the continuance sought in this Motion will result in this

case still being tried well within the time frame that civil cases in this District are ordinarily tried.



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    https://www.uscourts.gov/sites/default/files/fcms_na_distprofile1231.2018.pdf
                                                   3
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See United States v. Brandon Michael Council, 2018 WL 7822135, at *1-2 (D.S.C. Oct. 31, 2018)

(granting continuance in part because the defendant was able to show that his case was moving

faster than the average amount of time in federal capital cases). Indeed, although trial judges

“necessarily require a great deal of latitude in scheduling trials,” id. at *2, an “‘insistence upon

expeditiousness in the face of a justifiable request for delay’ violates the right to the assistance of

counsel.” Id.

       14.      The relief requested in this motion is sought in good faith and is not being sought

to delay proceedings, but instead is sought to ensure that Mr. Loukaides has the proper chance to

defend himself against claims that are extremely onerous and seek very significant financial

remedies.

       15.      Proposed pro hac vice counsel has inquired with Plaintiff’s counsel who indicated

that Plaintiff is opposed to the relief requested herein.

       16.      This is the first motion for extension of time filed on behalf of the proposed pro

hac vice counsel with respect to any matters in this case, and it is the second motion for extension

of time filed on behalf of Defendant Loukaides with respect to the trial date in this case. The first

motion for extension of time was filed by Mr. Loukaides’s current counsel before the decision to

retain the undersigned counsel was finalized. 2

       17.      This motion for extension of time is being filed at least three days before the first

deadline sought to be extended (the April 15 deadline for joint trial memorandum).




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 Proposed pro hac vice counsel is aware that the court recently denied the undersigned counsel’s
motion for extension of time.
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Dated: April 11, 2019                      Respectfully submitted,

                                           Alex Loukaides

                                           By: _/s/ Jeffrey S. Bagnell_______
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